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                        ExpressVote                                                                                    ®

                        Universal Voting System as a Marker

                                                                                                                Touch Screen and Display
                                                Multilingual
                                                                                                                Allows voters to easily make vote
                                                                                                                selections and review their selection.




                                                                                                                         Instruction Panel
                                                                                                                         A visual guide that shows voters
                                                                                                                         how to use the ExpressVote.




                                                                                                                         Card Slot
                                                                                                                         Where the voter inserts their
                                                                                                                         card to activate selections.



                                                     Visual Aids                          Front Access Panel
                                                     High contrast and                    Headphone jack, a port for a Sip-and-Puff device
                                                     zoom functionality.                  or two-position rocker switch, and Audio-Tactile
                                                                                          Keypad make the unit ADA friendly.

                                                     Audio-Tactile Keypad
                                                     Enables ADA voters to control audio
                                                     and navigate the ballot.




ACTIVATING THE VOTE SESSION:
Election officials can configure the ExpressVote to best fit their needs. The voter receives an activation
card to begin the process.

∙ If only one ballot style is programmed for the election, a blank card activates the vote session.

∙ Multiple ballot styles with a blank card prompt poll workers to select the correct ballot style for the voter.

∙ A card with an activation barcode displays the correct options for the voter if the election has multiple ballot styles.


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   ExpressVote Key Features
As a marker, the ExpressVote handles the entire marking process, eliminating unclear marks and
the need for voter mark interpretation. Voters utilize the touch screen to mark their vote selections,
receiving a verifiable paper vote record upon completion. The ExpressVote is used during early
voting or in precincts and vote centers on Election Day to serve every eligible voter, including those
with special needs.



                                                        EASY TO SET UP AND USE
                                 The one-step startup and poll-closing procedure make the ExpressVote an ideal device
                                 for poll workers. The intuitive design offers streamlined simplicity for poll workers and
                                 election staff. The ExpressVote is also small, lightweight and easy to move.



                                             CONTROLLED AND REDUCED COSTS
                                 Traditional ballot printing costs can be significantly reduced by eliminating the need
                                 for pre-printed paper ballots. Voters activate their vote session, make their selections
                                 and receive a paper record to cast. This process consumes 70 percent less paper than
                                 traditional ballots.



                                                           INNOVATIVE DESIGN
                                 Voters review a summary page and can make changes before receiving their verifiable
                                 paper vote record. The ExpressVote prevents overvotes and undervotes with prompts
                                 and on-screen feedback. ExpressVote in marking mode neither stores nor tabulates vote
                                 counts. The system produces a verifiable paper record for each voter.



                                                        VERIFIABLE PAPER RECORD
                                 After all selections are made, a human- and machine-readable paper record is produced
                                 that includes text and an optical scan barcode. Vote summary cards are digitally scanned
                                 for tabulation on an ES&S DS200 ®, DS450 ®, DS850 ® or ExpressVote® XL device.



                                                                       SECURE
                                 The ExpressVote Universal Voting System utilizes a variety of functions to ensure election
                                 data and cast vote records are secure. In its current certification as a marking device, no
                                 vote data is stored in the device. Its system functions are only executable during election
                                 events, in the manner and order intended by election officials performing their duties.


                                   For more information visit www.essvote.com
